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            Exhibit 
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                                                                                                                           CONTINUATION SHEET # 318-20
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                                                                                                                                                                                 PEORIA POLICE DEPARTMENT
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     MURDER B
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                                                                                        COOPER, Connie L.
                                                                                                                                                                                       ,.   3033 w. Garden=
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               V                                                                        ROBINSON, James                                        w.                                      ,.   3033 w. Garden
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    SEC.A:      A-Arrested •                 B-6usine-s.s, F;tm. Agenc::v                    ·C-C~mp~ain.:1nl                            ·r - Bar tend or   M ..... M'fuing:, R1.n,~way                   P-Parent, Guafdian                 S-Suspec.l               V-Victim               w-w.tne~s             0-0tner (Narr.~

    SEC.B:      K-Dead Betore Reporl .                             0--No Indication of Injury                           A:,B1ee~ing, Carriec:i fr'om Scene                B-Vi-s:i01e lnj1.,1l'y               C-No Vh.HJle io;ury, Mom,e!"'U.ry Unc.onsi:tous, Complai11 of Pain                                                                                                       ..
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    SEC.C:     . s-Sober                0 ...... Beeo Ori n-11; ing            l- tnto ic.icated /Under tnr1uen11:-e                       o--Other {Describe in-Na,r .)           •

    SEC. 0:    M-Male F-Female                              X-U.n&i;nown           / W-Whi!Q N-Negro, M-Mei<ican, J-Japanese                                             I-Indian           P-Puerto Rica" c-Chincsc 0-0the, 11 SEC. E:                                            POL-On Duty Pol!c:e                    OD-Off Duiy Police.
,NO.          HGT,
                              rw~_r:                        ~JAPA IPl.SC:,J
                                                                                                                r•veS                r   GLASSES )DESC.I_   r                           ,        PANTS/SKI-RT
                                                                                                                                                                                                                   r SHIRTl~lOUSE rCO~T                                  rHAT/CAP
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           CONTINUATION·
            SHEET ONLY
                                                            ·o                l~AR,RATIVE:
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     1705 hrs. 1-18-77                                                                                              :                                                                             ..
     At the above.time this officer was notified bv Sat. Hank Tavlor that Sat. Gillespie.wanted this officer on,Channel 3. At tli.e
     above time·this officer was at the Peoria County Court House in Court Rm. c. This officer exited the court room and went to
     channel· 3 ·. and was notified bv Sat. Gillesoie to qo to 3033 w. Garden in.reqards to a double homicide. Due to the fact this
     officer did .:.n9t ·have a·..vehicle Off. Earl Hopkins arrived at the court house and transported this officer to 3033 w. Garden.
                 ."                                                           ..       .
                                                                                                               ...                                                                                                                                             '

     1720- hrs·~                                                                                              ..         . -

     At- the above time this officer arrived at.the scene and met with· Off. Cannon and- Det. Buck. At 1722 hrs. Sgt. Tiarks arrivec
     and we were-briefed by OfL Cannon on information o~~ained at that point in the· investigation.
                  .. -.-                                                                            ..                     -
     This officer'observed that Coroner Buzbee was at the scene upon my arrival. Coroner. Buzbee .informed me that he pronounced
     the black female dead at 1702 hrs. Coroner Buzbee informed me that he oronounced the young black male dead at 1703 hrs.

     This officer observed a· 1ate. model. Oldsmobile bearina 1976 Ill. NP9715 black over -blue convertible in the drive-way. This
     vehicle was facing the .slngle garage attached to the residence. The resiqence· is a brick home, single family dwelling with
     nn basement.
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     This officer aiona with Off. Cannon.then entered the front door. of the residence at 3033 w. Garden. Upon opening the screen
     door Off·. Cannon pointed out that there is a pea~ in the screen in the area of the.door hanqle. Upon entering the door this
     n-Ffi ,...,. ... mat- ... ~ t-h ('\.f,f Cchmidtwho had been aspigned_tn cc,-,,,r.,. +-he front: door.
      CAN OFf[NOER
      @           llil I
                        I BY WHOM            .   "'PO"""G CHICER <PRINT, tV.El  •     : IO ~     r•EPOffTtNG OFF1c:ea !PRINT. TVl'[I    D NO,
                                                                                                                                               This officer learned that Off. Perkins was the
                                                                                                                                              OIVISION
                                                                                                                                                       • r•R NO. IOISL
                                                                                                                                                                       SUPERVISOR APPRO_Vl'!G    ,I.D.NO.                                  ril                                                                        I
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                                                                     1:23-cv-01184-CRL-JEH   # 318-20
                                                                           first offi er to arrive      Filed:
                                                                                                    at,the     04/22/24
                                                                                                            scene.   I wasPage  3 of 7 th
                                                                                                                            informed                                                             0 Flash' Message·
 1 ATTACH PROPERTY TAG HERE                                           1         Off. Perkins was to make the original report.                                                   See original ___ 0 LEADS/NCIC Inquiry
                                                                                re                                                                                                                                   0 LEADS/NCIC Entry
                                                                                                                                                                                                                     0 License Inquiry
                     ene this                                                                                                                                                                                        0 I nter•Dept. Requests
          prosess of examiming the cri~ scene                                                 possible evidence.                       Lab personnel present were Sgt.                                               0 Other Cornmun1c.ation
                                                                                                                                                                                                                     0 Cancellation Made
 I
1off. Chittick of the Traffic Divi ion was resent an
1the residence which leads into th~ living room I obser:yed and made notes on the following items in the living rooml Imme-
1diatel inside the front door on the east wall was ave
I was a small table which had a bottle of J & B scotch which was 1 /4 full.    A childs riding toy was pushed up next to this smal
1table. A               2             his m
1sitt1ng on the floor with the picture tube facing the east wall. Inunediately inside the front door to the left along the
I so                          rn the         ha· r w · h                       · ~e  ...x......,.t..__,,t.,_o<-...Jt...,h...,i.._·s..,__""c..,h..,.,a..,i.....r~i.....s..__,a...__....,.""""......,..____,""='....,..>-'--ll------"'---'...._---1
1draw drapes with nothing in front:of it. Along the west side of the living room wall in the southwest corner there is an
                                 ·   three nicknaeks, one ash tray wit.h..one Kool cigarette butt in it. Next to
1along the west wall is a couch, directly in front of the couch is a long coffee table. This officer observed an ash tray on
 I

   the word Kool on them and observed that the other cigarette butts appeared to be similar to the ones with Kool written on the •
   I a· s obs                  d              t      he ash t
   plastic bag also on this ash tray. Next to this ash tray was a plastic bag which was folded. I observed                                                                                                                            appeared to ee
                                 ·garette lighter, however the c~~t~t~eiL....,1~2~·g~hw..t~e.r........1aP~Q~r~t~2~·o~nu.._~w~a~sL~.IJ.l..l._.U_l.,W;;__,!,l-'ii,=_...s1....._....1...t..;;.....,U!!.!..1..!.i.><.._._.....1,___l,,!,!,l.Qs~e~r~v~e~d~=--t~h!..!.2e--:
   coffee table a pink envelope and a portion of a paper.which appeared to be advertisements with red printing and a'white back
     ·round.· . This officer· ob~-erved· on the floor between· the coffee table and th . couch· ti i ce of                                                                                                n -the floor from Americ
   Color Portraits.                Inc~  At the no~thend of the couch nearest the entrance-way to the kitchen there                                                                                                        end table·, this
f--".....,,.._........,le. had a ·1amp..:_on;__it·,        two
                                                    nicknacks,·a blue purs~, a bro
   butts in it. ·The ·ashtray also contai'ned po'rtions of a pink tissue·paper~-- On the north wall of the -living room there i:s a

     the north wall of the living room there is a chair with a small table next to it. On this table there was a green phone,
     one smal J ash t·ray with one cigarette_ butt in it. This· o
     that this plaster was broken at the· base. Directly in front of this small table there was a smal-1 bottle of nail hardener.
      · ectJy in front of the_ chair ;there was a small toy. There are two entrance-ways off the living room. an e
     northwest corner of the,. ·1i ving. room leading . to the· kitchen and an entrance-way on the northeast corner of the


f--'..LL.J'---"'--->...L~~....._.___,:,..u_~:'--'=...._....1...1.=.__,,,_,,._._"-'.Lu::.u._and_notea .the fol 1 owj ng The stove was on the east wall in the corner next to the· south
   the· 'refrigerator· ·is· located· on the east wall in the corner next to the north wall,. between the ·refrigerator and stove·.there
                                                    the refri erator with a counter extendin to the stove. This officer did not observe an items on the stov
   counter top appeared to be clean with the exception of cracker crumbs. This officer observed three glasses in the sink, one
   was a·red metal lass one was.a small lass simflar·to a ·whisk~· lass and one was a tall black                                                                             lastic. · No
  ·other items ;,,,.ere· in the sinkr ·next to the sink was·a stack of ·dishes -that appeared ·to have been cleaned with a towel over
   th                 Directly in fr ·n                           f the counte·r ·to ··ust north of the stove .I observed on the floor a. small' can of Crisco a box of
   Saltine crackers with one package removed from the box and was opened. I observed an orange towel laying next to the box of
~""'-'c.-'-<...I...U.>"'-'........._...,_,_k.er.s..  In and                   d         ese items·· there were cracker cr'urnbs-. Immediate! inside the entrancewa to the kitchen
                                                                                                                                                   SUPERVISOR APPROVING           I 1.0. NO.
   along the west wall I observed a plastic bag.                                                                                                                                  1
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                                                                                                                                                                                   PEORIA_SAVORY 32
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                         ,. SEC B ,.S[C                                                                                                                                       ,. ADDRESS IND       CITY, STATE. ZIPI                                                               , : PHONE(SI                             ,. D O.B
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SEC.A,          A-Arrested           B-Business, Firm, Agency                       C-C5'mplaon~nt                           T- B;:,rtenclef          M-Miss,ng, Runaway                 P-Parent, Guard ran                   S-Suspect                       V-V1ct1m                 W-W,tne~s                 0-0ther (Nar,.J

SEC.8:          K-Dead Betore Report                   0-No lndrcat,on of Injury                         A-Bleeding. Carried from Scene                        B-V1s1b1e Injury                   c-No v,s,ble 1n1ury, Momentary Unconscious. Complam of Pain




                                                                  r. . , r
SEC.C:          S'-Sober         D-Been Orinkin_g                  - 1-.lntoxicated/Under Influence                           O-Other (Describe in Narr.)

SEC. D:
,NO.
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                M-M,ile


                             r
                             F-Female             X-Unknown
                                                  flAIR,IDI.SC,I
                                                                        /   W-White           N-Nr.gro                M"C'Mexic □ n        J-Jc1pnnese

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      CONTINUATION.                      ·1NARRATIVE:
                                  []I ..
         SHEET O.NLY                                                The west wall there was a kitchen"table with four Chairs •. one chair was· on the east side
  of the table, one was on the west side of the table, one· chair was on the· north side of the :table,.· the other chair was on the
  south"side of the· table .. This• officer observed one·clean emotv ashtrav on the table and a salt-and oenner shaker. Under .the
  kitchen table this officer observed a.black night stick. This officer.observed an Olympia beer can in front of the refriger
  ator. "Thfa officer. observed alone the north wall a small bowl with crackers in it. I also observed a sack of aarbaee alone
  the north wall with.several pieces of paper around this bag· and one empty·pape)C cup. On the northwest corner-of the kitchen
  there is- an entrance~wav into what aonears to be a small bedroom·. There is a exit,door, the onlv door leading to the north
  side of the residence off of .this bedroom. ·There is ·a door off this bedroom leading to·the attached garage. Upon ente_ring
  this rear bedroom located·on the northwest corner of the.building I observed .that between the openine between this bedroom
  and the kitchen there is a hanging curtain.· Apparently this curtain is pulled in fr_ont of the entranceway f_or privacy .. I
  also observed a sheet coverina the·back door.: On the· east wall of· this bedroom there is a dresser which had a blue hooded
  coat on to_p of it. This officer observed that the .second door from the top.was open approximately one inch. Immediately
  from.enterinq this bedroom from the kitchen the· back door is to -the rieht. -Directlv in front of.this entranceway with the
 headboard on the west wall.there is a small· bed which had pink sheets with a gold blanket on it-, the pillow was observed in
  the middle· of •the bed with Pink Pillow case covers, a multi-colored sheet was also on the bed. Along the south wall of this
  small bedroom there were two tables.:· · This officer .did-not observe any.blood or a.ny signs of e .violent struggle in the .livins
·room kitchen or this small bedroom.·                                                                                                                         ..
                          ...                               . ..:                                                 ..                  ..                -
 This officer -then .entered the hallwav which is·off the· living-room. Observed -in the· middle of the hallway a vaccuum cleaner
  _.._ ___
 and                              broken blue in color Christmas tree light bulb·.. In the west -wall of this hallway there is a closet and .I
                M,, of a.;..,.-,,+-...,1u
           pieces
                                            -fr,nY'
                                                                                                 -
                                                                    hanoihn in.this closet. ·THis·officer then entered the bathroom which is·- off this. small
                                                                                                                                                             .1 SUPER.VIS.OR /\rPROVIN.G. ·

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     CAN OFPEND[R       • BY WHOM               R_EPORTING OFFICER !PRINT, TYPE!     ID. NO •, REPORT_I_Ni? OFflCER IP~INT, TYPf:I       DIVISION                                                          ,    1.0. NO
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\d l                                                                                                                                                                                                                                                                                    PEORIA_SAVORY 34                                                                         CISJ
 Page            of              . Pages NARRATIVE:
        '   4         : G,   .                  1:23-cv-01184-CRL-JEH # 318-20
                                                       hallwa on the north      Filed:
                                                                           side of the 04/22/24
                                                                                        residence.Page 5 ofenter
                                                                                                     U on   7    in     O Flash·Message
 1- - - - - - - - - - - - -      .- - - - - - - -
 1 ATTACH   PROPERTY TAG HERE        1      the entranceway to the bath there is a toilet stool imme- == □ LEADS/NCIC 1n~uiry
                                            d.i.atel to the left a sink is on the west wall and the       D LEADS/NCIC Eotrv
 1 tub runs the length. of the north !Wall of the bath. This officer noticed that there were two bars --- □ Licen~e l~quirv
 I of soa  on the sink whi h       r 1 • b                                                            ___ D l~ter-Dept. Requests
 1
   black hair in the sink.                 abserved a pair of· white childs pants                     ___ D Other Communication
   the east wall I observed a wash cloth 1 in on the fl         n                                         D Cancellation Made
 I holder on the east wal 1.  Also on this holder was a pair of female panties. General appearance of this bathroom            very
 1 clean and as I started to exit    ~ bathroom I observed on the south wall a li ht switch whi h had wha                        load
   on it. No other signs of blood cpuld be located in the bathroom other than this light switch.
                                                    I
  This officer then entered the southeast bedroom. This officer noticed that this bedroom did not have any bedroom furniture
  in it. There was a ile of clot 1in    on the south wall of the room there were several chairs in the room and several to s
1 for~ small child on the floor. ~his room appeared that it was very seldom used and possibly used as a playroom -for a small
I child.  There were no sins of blbod or h sical evidence in this room •
.1                                                  I
1 This officer then entered the noitheast bedroom where the two bodies were located. The door to this room is hin ed on the
1 right side and with this door opetn it is extended along the south wall.           Immediately in front of the door there was a large
l_arti£iciaJ._flawer. .alon :the-S.Outhl wall between the flower and the east wall there is a dresser which is 4 1 10" in len th and
  1 1 6 11 in width. This dresser has two mirrors on it, on the mirror nearest the door there was what appears to be blood on the
  mirror. This officer observed on this dresser a black urse an ash tra with four ci arette butts and several Ber ners
  price tags, one green comb, one bottle of baby oil, one bottle of nail polish remover, 15 to 20 bottles of nai:l. polish and
  cola· ne ■' This officer observed-two·· ictures 1 in on·this dresser and both were cut-in half. One icture was visible and i
  was a photograph of a 'sniall baby. There· is· a bed in this bedroom ·with the headboard along the north wall. The bed is-.locat
  at 'the northeast corner of the.bedroom. This bed measures 76 -inches in len th and 52 inches in' width. This officer observe
 ·what appeared to be .blood on the sheets and bedspread. ·The sheets on the bed were blue and white in color and the bedspread
  was red and whitE{!in color. There was a fllow ·on the· northeast corner· of the bed· next to the headboard. Part of this.
  pillow was protruding off the side of the bed." ·This officer noticed that on the left side of the bed there· was.a pillow
  st"andin ·on end· ~ext· to the bed. At the foot of the bed this officer observed -a air of slacks r-ed in color·. Between ·the
  bed arid the'dresser ·on the ·south wall this· officer observed the body of a: young black male. · The young                        lying
  on his back· with his head·: 1 in · over· the· heatduck on the floor:. · This -officer observed that this                            t
 wearing ariy_ shoes or s~c1cs, ·he was wearing blue jeans rol'red up at the--bottom, he was wearing' a yellow
  observ d a lacer ti n over the· top portion of "his nos·e·. with            a
                                                                         laceratiorf to his left ·che l> T i .         k ma e had several
  exact·.-number unknown·, ·stab· wounds to his chest area and a larger ·stab woun:d to his lower right abdomin~ This officer observ
  tha h had bloo on both of his arms.· The ·nod of th.J.s oun black male 1 i ·on its· b ck with· his·le s bent at' the knees
  t~e ],eft leg on. top - of the right leg, the feet were touching the·: dresser which was approximately {I!.' 7 11 • from the south wall •.
 Vic im had his arms extended to his ·sides raised iri· a u ward -·osition extendin u wad from his·. shou ders. The victims head
  was appr·oxi~tely- 5 inches· ·from .the east wall and approximately· 4•·3 11 · from the' south· wall. - Between the· dresser and the head

             lower extremities of the young black male there was a brown metal                  Upon entering the doorway to this northeast
         oom immediate! to· the left there.were three·stuffed animals and two air o"f brown shoes~ In the,northwest corner of th
     bedroom there' is a·· che-st ·of· drawers which measured 2 '11" in width and 1· 1 6" in depth. The ·top of this dresser there .was~a.
     di ital clock radio· which was ·on with 'the -·volume· set ve . low." -There was a small air of brown shoes a white -knit ca
     one package of Ko&l cigarettes opened, two pair of pants and one shirt folded up, one small play toy and one camera Square
     shooter Two. In front of this dresser and between.the bed. and the west wall this officer observed the bod of a black
                                                                                                      SUPERVISOR APPROVING           I I O NO
     female. The body was lying on its back with the arms extended at shoulder level.                                                1 • •    •
                                                                                                                                          I



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                                                      NAME ANO/OR ALIAS                                                            ADDA:tSS (NO .. c,n·. ST A TE. 21PJ                                                                                        SS., D L. NO .. ETC.




SEC. A:    A-Arr.es.tell   a-aus.lnE'S."'i. ~irm, Agency      C ~corn ci!ai na nt                                                            P-Par-e-n-t. Guarllian       s-S.uspe-ct       v-Victim           W-Witnen           O-Other (Narr.)

SEC. 8:    K-Oead Betore Report       'o-Na lnd•cation 0.1 Injury          A-Breeding, Cardea from Scene             B-:-Vis:lble lt1ju.ry      C-No Vi-si:ble Injury, Mome~tary Unco':ls:ciom-, Complain ot Pain

SEC. C:    5-Sob~r                                1-lntoxicat-ed/Und-er lnfluenc;e         0-0ther (Describe in Narr.)

SEC. D:   M-Maln      F-Fe.male   X-Unknawn            W-White                                                                                                                                                                         OO-Oft Duty Police
                                  MAIR W·lS.C-'                                                                                                                                                                        IDENTlf'IA6LE PHYSICAL. CHAR~CTER1ST1CS




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     CONTINUATION                                 NARRATIVE:·
      SHEET ONLY     Ix]             The head of the female victim was a roximatel 3 '5" from the Wall next to the door o enin
  and 1 1 10" from the closet door located on the west wall. The victim 1 s left knee. was touching th_e dressei;, her right leg
  extended be ond it which was·a roximatel 1'2" frorri the north wall. This officer observed that this oun black female
  victim had rollers in her hair weering a pink and white robe which was opened in the front.      I observed that she was wearing
  a ftllow ni ht own wearin white anties. This officer observed the crotch of these white anties what a eared to be a·
, tear approximately- three-quarters of an inch; ·This officer noticed that she was _wearing _white· socks. This officer noticed
  that she had a laceration across her forehead almost arallel with here ebrows and a laceration to her right cheek. This
  female victim had a laceration to her stomach which was very severe with her intestines visib~e •..T~is officer observed what
  a eared to be stab wounds in her chest area. This officer was resent when Off. Jatkowski examined the black females hands
  and noticed that she had a laceration to her right index finger, a wound on her right middle fingernail, a wound on her
                       a wound on her left index fin er and on the back of her left alm.

 A this time detailed examinations of wounds on both bodies were not com lete at this time and a detailed examination of
 wounds will be given at the autopsy. Wounds described by this officer were wounds that were visible without moving or alteri g
                   o                  This officer did notice that the wounds on both of the deceaseds a eared to be very
 clean        with very smooth edges. It appears that these wounds were caused by a smooth bladed knife. The majority of
                     uncture wounds and the others a eared to be slashin wounds.

                                               the drawer where the kitchen utensils were ke t i n the kitchen. This officer observed several knives
                                              which were serrated steak knives, one knife a butcher knife approximately 8 inches in length and approxi
                                                                                All of these            eared to be ver clean and absent of an
                                                                                                                        REPORTING OH-ICE~ iPFIINT. TYPE)                                                                 01ST,         SUPERVISOA APPROVING                          J.D.NO.


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                                  Pages NARRATIVE:
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                                                                                                                          - -,.,-1-.;    _ _,,7 +-h ,,-1-
                                                                                                                                                             - - - D Flash ·Message -~ o---• •• I
 I ATTACH          PROPERTY TAG HERE     there were no signs of forced entry on the front or rear
                                                       I
                                                                                                                                                             ___ O LEADS/NCIC Inquiry I                          I



 I                                  I    r'lr,r,.- ,....,c +-h; c, -,-,c,irl---- 'l'h-i .,. -"'°-F-i - - - --.. --.; ---..3 _.,,_.1...--- --~- -of:          ___ 0 LEADS/NCIC Entry \-----                       I

                                                                                                                             -                 -
                                                                                                                                                             - - - D License Inquiry
                                                                                                                                                                                                I
 I the residence and learned that there were two garbage cans next to the rear door.                                      Both           of these                                                                I


                                                                                                                                                             - - - D Inter-Dept. Requests
 I cans werP Pmntv.                 I                                                                                                                                                           I




                                                                                                                                                                                                                 r
 I                                                  I
 I                                                  I
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                                                                                                                                                             --- D Cancellation Made
                                                                                                                                                                     Other Commun,cation
                                                                                                                                                                                                                 I



II Both ,-,-F +-ha r'l,,,_,...,..,,.c::,,,.r'I vi rt-im .. were
                                                             V  ~ hv p,.rl,-c M,-,rt-11;:,y-v ,-,orc::nnn,::,.1 t-n p.,rlcs:: Mn.-t-11.=,rv 'T'hi"'
 I officer learned that Det. Buck was to go with the bodies and to subsequently be present during the autopsy by Dr. Immesoete.
 I
   See suonlernentarv report by Det. 1Buck.
 I                                       .          I
 I This officer noticed that.all wirtdows to the residence were closed and secured.                                               I noticed that all curtains on these windowi
 I were closed.                     I
j                                                  I
                                                   I


I This,officer along with Off. Cann.on returned to the Peoria Police Detective Division and met with Sgt. Tiarks. This officer
I learned that residence at 3033 WJ Garden would be secured bv Peoria Police personnel durinq the niqht and until the morning
I hours of 1-19-77.                I
I                                                  I
                                                   I

I The advertisement on the coffeetlable in the living room and the plastic bag located on the flc:.or in the kitchen appeared to
'-be-the ...t."!.l.ne that.... are ..delivered-ddor to door. This officer was infonned by Sqt. Tiarks that he observed on the doors of
  houses in the area similar advertisements.

     Follow-up investigation is needed to ascertain who delivered these advertisements and the time that they were delivered.

     Follow-up investigation is ne"eded to ascertain from the paper boy who has.that route and the post office personnel making
     deliveries in that-area. attemots to ascertain if they observed any vehicles or suspects or movement at 3033 w-. Garden.
                            ..  -              --                                                       ..
      This officer learned from sdt. ·-Tiarks that a oatrol officer would be assianed to stand bv throuqh the niqht ·and secure the
      residence at 3033 w. Garden for the purpose of further investigation at the crime scene in the·A.M. on 1-19-77.               --
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     ·INVESTIGATION IN PROGRESS. .
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